     Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 1 of 66




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

FIESTA MART, LLC.            §
                             §                          CIVIL ACTION NO.__________________
Plaintiff,                   §
                             §
v.                           §
                             §
WILLIS OF ILLINOIS, INC. and §
WILLIS TOWERS WATSON US, LLC §
                             §
   Defendants.               §

                              EXHIBIT A TO NOTICE OF REMOVAL


        1.       All executed process in this case: As of the date of this filing, Plaintiff has not

filed an affidavit of service with the state court.

        2.       Pleadings asserting causes of action, e.g., petitions, counterclaims, cross

actions, third-party actions, interventions and all answers to such pleadings: Defendants

Willis of Illinois, Inc. and Willis Towers Watson US, LLC’s Original Answer, General Denial,

Special Exceptions and Affirmative Defenses.

        3.       All orders signed by the state judge: None.

        4.       The docket sheet: See #5.

        5.       An index of the matters being filed:

               Doc #         Date Filed                            Document/Pleading
                1            N/A                                   Court Docket
                2            September 4, 2020                     Plaintiff’s Original Petition            and
                                                                   Request for Disclosure 4

4
  Attached to Plaintiff’s Original Petition and Request for Disclosure were the following filings from a separate,
unrelated case (The State of Texas v. One Bent Tree, LTD., Cause No. 20-C-3293, Ellis County, Texas): (a) a Notice
of Hearing; (b) an Order Setting Hearing Before Special Commissioners; and (c) First Amended Petition for
Condemnation. Defendants have included these documents out of an abundance of caution, but assume that they were
inadvertently attached to the Original Petition and Request for Disclosure by Plaintiff.
    Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 2 of 66




              3         October 5, 2020                 Defendants Willis of Illinois, Inc. and
                                                        Willis Towers Watson US, LLC’s
                                                        Original Answer, General Denial,
                                                        Special Exceptions and Affirmative
                                                        Defenses


       6.     List of all counsel of record, including addresses, telephone numbers and

parties represented:

       Tracey N. LeRoy
       Rhuju Vasavada
       Yetter Coleman LLP
       811 Main Street, Suite 4100
       Houston, TX 77002
       713-632-7702

       Counsel for Plaintiff Fiesta Mart, LLC

       Edward J. Baines
       Kyra Smerkanich
       Saul Ewing Arnstein & Lehr, LLP
       1919 Pennsylvania Avenue, N.W. Suite 550
       Washington, DC 20006
       202-295-6632

       Counsel for Defendants of Illinois, Inc. and Willis Towers Watson US, LLC

       Christopher W. Martin
       Martin, Disiere, Jefferson & Wisdom LLP
       Niels Esperson Building
       808 Travis, 20th Floor
       Houston, TX 77002
       713-632-1701

       Counsel for Defendants of Illinois, Inc. and Willis Towers Watson US, LLC
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      DOCUMENT 1
              Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 4 of 66

HCDistrictclerk.com          FIESTA MART LLC vs. WILLIS TOWERS WATSON US                               10/9/2020
                             LLC
                             Cause: 202053693    CDI: 7   Court: 061

APPEALS
No Appeals found.

COST STATMENTS
No Cost Statments found.

TRANSFERS
No Transfers found.

POST TRIAL WRITS
No Post Trial Writs found.

ABSTRACTS
No Abstracts found.

SETTINGS
No Settings found.

NOTICES
No Notices found.

SUMMARY
CASE DETAILS                                                 CURRENT PRESIDING JUDGE
File Date                    9/4/2020                        Court        061st
Case (Cause) Location        Civil Intake 1st Floor          Address      201 CAROLINE (Floor: 9)
                                                                          HOUSTON, TX 77002
Case (Cause) Status          Active - Civil
                                                                          Phone:7133686070
Case (Cause) Type            FRAUD
                                                             JudgeName    FREDERICKA PHILLIPS
Next/Last Setting Date       N/A
                                                             Court Type   Civil
Jury Fee Paid Date           9/4/2020



ACTIVE PARTIES
Name                                              Type                                      Post Attorney
                                                                                            Jdgm
FIESTA MART LLC                                   PLAINTIFF - CIVIL                                 LEROY,
                                                                                                    TRACY
                                                                                                    NICOLE
WILLIS TOWERS WATSON US LLC                       DEFENDANT - CIVIL                                 MARTIN,
                                                                                                    CHRISTOPHER
                                                                                                    W.

WILLIS OF ILLINOIS INC                            DEFENDANT - CIVIL                                 MARTIN,
                                                                                                    CHRISTOPHER
                                                                                                    W.
WILLIS TOWERS WATSON US LLC (A DELAWARE REGISTERED AGENT
             Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 5 of 66
LIMITED LIABILITY COMPANY)

WILLIS OF ILLINOIS INC (AN ILLINOIS                  REGISTERED AGENT
CORPPRATION) CAN BE SERVED THROUGH



INACTIVE PARTIES
No inactive parties found.

JUDGMENT/EVENTS
Date  Description                               Order         Post Pgs Volume Filing                         Person
                                                Signed        Jdgm     /Page Attorney                        Filing
10/5/2020   ANSWER ORIGINAL PETITION                                  0               MARTIN,                WILLIS OF
                                                                                      CHRISTOPHER W.         ILLINOIS INC

10/5/2020   ANSWER ORIGINAL PETITION                                  0               MARTIN,                WILLIS TOWERS
                                                                                      CHRISTOPHER W.         WATSON US LLC

9/4/2020    JURY FEE PAID (TRCP 216)                                  0

9/4/2020    ORIGINAL PETITION                                         0               LEROY, TRACY           FIESTA MART LLC
                                                                                      NICOLE



SERVICES
Type   Status                       Instrument Person           Requested Issued Served Returned Received Tracking Deliver
                                                                                                                   To
CITATION    SERVICE         ORIGINAL            WILLIS          9/4/2020       9/8/2020 9/14/2020          9/15/2020     73784592   E-MAIL
            RETURN/EXECUTED PETITION            TOWERS
                                                WATSON US
                                                LLC (A
                                                DELAWARE
                                                LIMITED
                                                LIABILITY
                                                COMPANY)
     211 E 7TH STREET SUITE 620 AUSTIN TX 78701

CITATION   SERVICE         ORIGINAL             WILLIS OF    9/4/2020          9/8/2020 9/25/2020          10/1/2020     73784594   E-MAIL
(NON-      RETURN/EXECUTED PETITION             ILLINOIS INC
RESIDENT                                        (AN ILLINOIS
CORPORATE)                                      CORPPRATION)
                                                CAN BE
                                                SERVED
                                                THROUGH
     208 S LASALLE STRERET SUITE 814 CHICAGO IL 60204



DOCUMENTS
Number          Document                                                                               Post Date              Pgs
                                                                                                       Jdgm
92471563        Defendants Willis Of Illinois Inc And Willis Towers Watson Us. Llc's Original Answer        10/05/2020        7
                Deneral Denial Special Exceptions And Affidamative Defenses
                Defendants Willis Of Illinois Inc And Willis Towers Watson Us. Llc's Original Answer        10/05/2020
                Deneral Denial Special Exceptions And Affidamative Defenses

92472694        Defendants Willis Of Illinois Inc And Willis Towers Watson Us Llc's Original Answer         10/05/2020        7
                General Denial Special Exceptions And Affirmative Defenses
                Defendants Willis Of Illinois Inc And Willis Towers Watson Us Llc's Original Answer         10/05/2020
                General Denial Special Exceptions And Affirmative Defenses

92424939        Return of Service                                                                           10/01/2020        3
92159623        Return of Service                                                                           09/15/2020        3

92148839        Return of Service                                                                           09/14/2020        3

92032111        PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE                                    09/04/2020        18
                Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 6 of 66
·>   92032112     EXHIBIT 01                                                09/04/2020   11

·>   92032114     EXHIBIT 02                                                09/04/2020   3

·>   92032115     EXHIBIT 03                                                09/04/2020   2
·>   92032116     EXHIBIT 04                                                09/04/2020   3

92037702          Request for Issuance of Service                           09/04/2020   1

92037906          Request for Issuance of Service                           09/04/2020   1
Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 7 of 66




      DOCUMENT 2
       Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 8 of 66
 ~
                                                           Receipt Number: 863876
                                                           Tracking Number: 73784592
EML
COPY OF PLEADING PROVIDED BY PLT

                               CAUSE NUMBER: 202053693


PLAINTIFF: FIESTA MART LLC                                     In the 061st Judicial

vs.                                                            District Court of

DEFENDANT: WILLIS TOWERS WATSON US LLC                         Harris County, Texas

                                         CITATION
THE STATE OF TEXAS
County of Harris

T0: WILLIS TOWERS WATSON US LLC (A DELAWARE LIMITED LIABILITY COMPANY) CAN BE SERVED
THOUGH ITS REGISTERED AGENT CORPORATION SERVICE COMPANY D/B/A CSC            ®ELIVERE®
211 E 7TH STREET SUITE 620
AUSTIN TX 78701                                                           BY'-~-s- PSC: ~~.~~C
                                                                            ATX Process, LLC
   Attached is a copy of PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE.
This instrument was filed on September 4, 2020, in the above numbered and styled
cause on the docket in the above Judicial District Court of Harris County, Texas, in
the courthouse in the City of Houston, Texas. The instrument attached descr;ibes the
claim against you.
   YOU HAVE BEEN SUED. You may employ an attorney. I,f you or your attorney do not
file a written answer with the District Clerk who issued. this citation by 10:00 a.m.
on the Monday next following the expiration of twenty days after you were served this
citation and petition, a default judgment may be taken against you.
   ISSUED AND GIVEN UNDER MY HAND and seal of said Court, at Houston, Texas, this
September 8, 2020.


               Ha~~;                                1`   ta4— &l1 -
                    c~~                             Marilyn Burgess, District C1erk
                                                    Harris County, Texas
                          ~
                                                    201 Caroline, Houston, Texas 77002
       ~~~...~
      ~:Y  ..»,.~.•~~
                   '" }• ~'~
                                                    Generated By: LISA THOMAS


Issued at request of:
LeRoy, Tracy N
811 MAIN STREET, SUITE 4100
HOUSTON, TX 7700.2
713-632-807.3

Bar Number: 24062847
        Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 9 of 66




                                                                   Tracking Number: 73784592
                                                                                         EML


                                 CAUSE NUMBER: 202053693


PLAINTIFF: FIESTA MART LLC                                       In the 061st

    vs.                                                          Jud.icial District Court

DEFENDANT: WILLIS TOWERS WATSON US LLC                           of Harris County, Texas




                             OFFICER/AUTHORIZED PERSON RETURN
Came to hand at                  o'clock            M., on the                      day of
                                        , 20
Executed at (address)
in              County
at               o'clock                   M.,     on      the                    day       of
                                                    , 20          .
by .delivering to                                                          defendant,
in person, a true copy of this
Citation together with the accompanying                         copy(ies) of the
                                          Petition
attached thereto and I endorsed on said copy of the Citation the date of delivery.
To / certify which       I   affix my hand. officially this                          day of
                                       , 20

FEE: $
                                                                  of
County, Texas
                                             By:
               Affiant                                          Deputy
On this day,                                                    , known to me to be
the person whose signatur,e
appears on the foregoing return, personally appeared. After being by me duly sworn,
he/she stated that this citation was executed by him/her in the exact manner recited
on the return.

SWORN     TO      AND    SUBSCRIBED      BEFORE    ME      on          this                 of
                                      , 20


                                                                  Notary Public
     Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 10 of 66                              9/4/2020 10:34 AM
                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                    Envelope No. 45984708
                                                                                                         By: Maria Rodriguez
                                                                                                   Filed: 9/4/2020 10:34 AM




FIESTA MART, LLC,                                 §               IN THE DISTRICT COURT OF
                                                  §
               Plaintiff,                         §
V.                                                §                  HARRIS COUNTY, TEXAS
                                                  §
WILLIS OF ILLINOIS, LLC and WILLIS                §
TOWERS WATSON US, LLC                             §
                                                  §                      th JUDICIAL DISTRICT
               Defendant.

       PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

        Plaintiff Fiesta Mart, LLC ("Fiesta Mart"), respectfully files this Original Petition and

Request for Disclosure against Defendants Willis Towers Watson US LLC and Willis of Illinois,

Inc. (together "Willis"). Based upon actual knowledge with respect to itself and its own acts, and

upon information and belief as to all other persons and matters, Fiesta Mart respectfully alleges as

follows:

                                          Discovery Level

        1.     Based on the relief sought, discovery should be conducted under a Level 2 plan

pursuant to Texas Rule of Civil Procedure 190.3.

                                       Nature of the Action

        2.     Fiesta Mart is a supermarket chain based in Houston, Texas. Fiesta Mart has served

Houstonians for over 45 years and is continuing to serve this community during the COVID-19

pandemic. Its employees curtently serve as first line responders providing basic necessities to

Fiesta Mart's customers, and its stores are visited by thousands of Houstonians every day.

        3.     During Hurricane Harvey, several Fiesta Mart stores faced devastating damage.

Some of the stores are still closed and a few are open but are still in the process of making repairs.

        4.     During and prior to Hurricane Harvey, Willis was Fiesta Mart's insurance broker.

Willis worked for Fiesta Mart to secure various insurance policies for its stores. Willis also advised
   Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 11 of 66



Fiesta Mart on making claims under those policies, including claims related to losses suffered in

Hurricane Harvey.

          5.    Today, Fiesta Mart is still working to rebuild and reopen stores damaged in the

hurricane. This process has been delayed due to the challenges Fiesta Mart has faced in securing

the insurance proceeds it is owed because its insurance broker, Willis, breached various duties

owed to Fiesta Mart. Willis misrepresented to Fiesta Mart the impact of agreeing to certain

insurance policy programs; ignored Fiesta Mart's requests for assistance; and even caused

insurance proceeds owed to Fiesta Mart to be paid to another entity with no interest in the affected

stores.

          6.    Willis' actions have cost Fiesta Mart millions of dollars, valuable time and delayed

the repair and reopening of its stores. Rather than support its insured, Fiesta Mart, in the difficult

process of rebuilding after the hurricane, Willis acted for its own self-interests to the detriment of

Fiesta Mart. And Willis' breaches continue to this day — Willis has simply stopped responding to

inquiries made by the insured, Fiesta Mart, about its insurance program. Fiesta Mart has been left

with no choice but to file this lawsuit.

                                               Parties

          7.    Plaintiff Fiesta Mart, LLC is a Texas Limited Liability Company with its principal

place of business in Houston, Texas.

          8.   Defendant Willis Towers Watson is a Delaware limited liability company that can

be served with process through its registered agent at Corporation Service Company, d/b/a CSC,

211 E. 7a' Street, Suite 620, Austin, TX 78701-3218.

          9.   Defendant Willis of Illinois, Inc. is an Illinois corporation that can be served with

process through its registered agent, CT Corporation System at 208 S. LaSalle Street Suite 814,

Chicago, IL 60204.


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                                      Jurisdiction and Venue

       10.     The Court has subject matter jurisdiction over this case because the amounts in

controversy are within its jurisdictional limits.

       11.     The Court has personal jurisdiction over Defendant because it has purposefully

availed itself of the privileges and benefits of conducting business in this state, as defined in

Section 17.042(2) and/or (1) of the Texas Civil Practice and Remedies Code. Without limitation,

Defendant has engaged in business in this state by committing a tort in whole or in part in Texas

and entering into a contract with a Texas resident with performance in whole or in part iri Texas.

       12.     Venue of this action is proper in Harris County, Texas, pursuant to Section

15.002(a)(1) of the Texas Civil Practice and Remedies Code, because a substantial part of the

events or omissions giving rise to the claims occurred in Harris County, Texas, and because Harris

County is where the insured properties at issue in this lawsuit are located. In the alternative, venue

is proper in Harris County, Texas under Section 12.002(a)(4) of the Texas Civil Practice and

Remedies Code, because Plaintiff is headquartered in Harris County, Texas.

                                 Facts Giving Rise to This Action

       13.      Fiesta Mart was founded in Houston in 1972. Today, there are more than 60 Fiesta

Mart stores in Texas, serving customers from over 90 countries of origin. Houston remains the

principal location of most Fiesta Mart stores and the location of its corporate headquarters.

       14.     Insurance coverage for property damage to Fiesta Mart stores is important to Fiesta

Mart's business. Most of its stores are located in the Houston area, and Fiesta Mart therefore faces

the annual threat of hurricane damage. Fiesta Mart requires adequate insurance to keep its stores

up and running for the Houston community and to protect its investment in each store.

       15.      Fiesta Mart further requires adequate coverage as a predicate to its lease agreements

for the store premises. Fiesta Mart is required to provide certificates of insurance coverage to the


                                                    -3-
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owners from whom it leases space for its stores. Absent adequate coverage, Fiesta Mart could be

in breach of a lease agreement.

        16.    On information and belief, on April 29, 2015, private equity firm ACON

Investments,         LLC          ("ACON")           acquired         Fiesta      Mart.        See

www.aconinvestments.com/aconacquiresFiesta Mart/ ("Washington, DC, Apri129, 2015 — ACON

Investments, L.L.C. and its affiliates (`ACON') announced today that it has acquired Fiesta Mart,

L.L.C....") (visited Aug. 28, 2020).

        17.    At the time of the acquisition, ACON utilized Willis as an insurance broker for

some if not all of its portfolio companies. Fiesta Mart had been using a different insurance broker

prior to the ACON acquisition.

       A.      Willis Becomes Fiesta Mart's Broker

        18.    The policies covering property damage to Fiesta Mart stores were up for renewals

in approximately April of 2016. Willis approached Fiesta Mart and sought to become its broker.

        19.    Willis has 45,000 employees serving more than 140 countries and markets. In the

United States alone, Willis has 90 offices, including six in Texas.

       20.     Over the course of the relationship between Fiesta Mart and Willis, Willis provided

services from a number of Willis offices around the country. Willis emphasized its national

capabilities as a way of ensuring prompt and effective service for clients like Fiesta Mart. Fiesta

Mart routinely communicated with Willis personnel from a number of offices, including Chicago,

Los Angeles, and Atlanta.

       21.     Willis represented to Fiesta Mart that Willis' representation of other ACON

portfolio companies would help Fiesta Mart, and that Willis' relationship with ACON would not

cause a conflict in Willis' representation of Fiesta Mart.




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           22.   Willis provided Fiesta Mart with its standard Terms and Conditions. See Terms and

Conditions, Ex. 1. Under the Terms and Conditions, Willis promised that it would respond to Fiesta

Mart's, requests for coverage information as well as act on Fiesta Mart's behalf as the insured. Id.

at 2, 6.

           23.   Willis further promised that if Willis became aware of any conflict of interest

between Fiesta Mart and another entity with a relationship with Willis, Willis would inform Fiesta

Mart and withdraw from the Fiesta Mart relationship. Id. at 6. Willis represented that it "do[es] not

tolerate unethical behavior either in our own activities or in those with whom we seek to do

business." Id. at 8.

           24.   Willis represented that it would assist Fiesta Mart in procuring adequate coverage

for property damage, manage the process of filing claims, and work with insurers, adjusters, and

others in handling claims on Fiesta Mart's behalf.

           25.   Fiesta Mart conveyed to Willis its needs for adequate property insurance coverage

for damage to its stores. Willis advised Fiesta Mart to agree to group polices that covered various

ACON portfolio companies. Willis further represented to Fiesta Mart that the coverage provided

under the portfolio policies would be at least equal to a standalone policy proposed by Fiesta Mart's

prior broker under which Fiesta Mart was the only named insured. Willis represented to Fiesta

Mart that the portfolio policies would be a superior solution for Fiesta Mart as compared to the

standalone policy presented by Fiesta Mart's prior broker.

           26.   Fiesta Mart relied on Willis' representations about its services as a broker and the

portfolio policies, and switched to the portfolio policies on or about Apri122, 2016.




                                                 'S•M
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          B.    Hurricane Harvey

          27.   A little over a year later, on August 25, 2017, Hurricane Harvey made landfall in

Houston. The storm dumped an unprecedented 40 inches of rain in the area and caused massive

damages and dislocation to Houston businesses and residents alike. Fiesta Mart was no exception.

The Fiesta Mart at Mesa and Tidwell (Store #23; 9419 Mesa Drive, Houston, Texas 77028)

sustained serious damage. After extensive efforts, Fiesta Mart reopened that store on or about

October 4, 2017, bringing quality and affordable food options to a still flood-damaged part of the

city. Despite Fiesta Mart's massive efforts in making enough repairs to reopen this store in record

time to serve the community, it still is not restored to its pre-Harvey condition because, as noted

below, insurance proceeds remain outstanding.

          28.   Other Fiesta Mart stores fared even worse. The Fiesta Mart near the Addicks

Reservoir at Clay Road and Texas 6(Store # 56; 4330 Highway 6, North Texas, 77084) took on

nearly 10 feet of water. It remains closed today, as does Fiesta Mart Store # 10 (12201 E. Freeway,

Houston, Texas 77015). Fiesta Mart management is working towards rebuilding or replacing both

stores.

          29.   Fiesta Mart used, operated, owned and/or leased store numbers 10, 23, and 56 and

other Fiesta Mart stores that suffered property damage and/or business interruption from Hurricane

Harvey (collectively, the "Harvey Loss")

          30.   Fiesta Mart paid to repair damage from the Harvey Loss, including the damage to

store numbers 10, 23, and 56, and additional payments will be required to bring the stores to their

pre-Harvey condition.




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         C.     The Primary Policies

         31.    At the time of Hurricane Harvey, Fiesta Mart — including store numbers 10, 23, and

56 mentioned above — was insured under several property insurance policies collectively providing

$400 million in limits that Willis secured for Fiesta Mart. The first layer of policies, called the

primary layer, afforded $25 million in limits (collectively, the "Primary Policies" and individually,

a"Primary Policy").. A chart summarizing certain elements of the Primary Policies is set forth

below:

               `.;. Insu"rer                Policy; ....     Policy.:.;       Policy:           % of .
                                             leio.           Period `         Li~nits ' :: .   Primary
                                                                                                La er
         Allied World Assurance       0310-7409-1A         06/01/17-      $2.5M p/o $25M         10%
         Com an                                            06/01/18
         Arch Specialty Insurance     ESP7303053-01        06/01/17-      $5M p/o $25M          20%
         Com an                                            06/01/18
         Aspen Specialty Insurance    PRAGK1017            06/01/17-      $3M p/o $25M          12%
         Com an                                            06/01/18
         Certain Underwriters at      URS 2552391.17       07/06/17-      $2.5M p/o $25M        10%
         Llo d's of London Hiscox                          06/01/18
         HDI Global Insurance         CPD1488300           06/01/17-      $lOM p/o $125M         8%
         Com an                                            06/01/18
         Indian Harbor Insurance      PR00047629           06/01/17-      $5M p/o $25M          20%
         Com an                                            06/01/18
         Westport Insurance           NAP 2001214 01       06/01/17-      $80M p/o $400M        20%
         Corporation                                       06/01/18

         32.   The Primary Policies are contracts of indemnity. Specifically, they provide that

"[i]n consideration of the premium charged, the subscribers hereto, hereinafter referred to as the

Insurer(s) and/or Company(ies), do severally, but not jointly, agree to indemnify the Insured for

the amount recoverable in accordance with the terms and conditions of the Policy."

         33.   Endorsement A1 to the Primary Policies sets forth certain terms and conditions

"[w]ith respects to the entity of, Fiesta Mart." In addition to establishing a deductible of $250,000

for certain perils, Endorsement A1 sets an "Allocated Premium" fiigure that varies by insurer.




                                                  -7-
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       34.     For example, one of the Primary Policies is Policy No. 0310-7409-1A issued by

Allied World Assurance Company for the period June 1, 2017 to June 1, 2018 (the "AWAC

Policy"). Endorsement A1 to the AWAC Policy states "Allocated Premium -$125,793."

       35.     Consistent with that figure, Willis billed Fiesta Mart $125,792.60 respecting the

AWAC Policy in June 2017.

       36.     Fiesta Mart paid in full the billed amount respecting the AWAC Policy.

       37.     Willis likewise billed Fiesta Mart for allocated premium respecting the other

Primary Policies. Fiesta Mart paid in full all such billings.

       38.     Fiesta Mart also falls within the definition of "Insured" under the Primary Policies,

in accordance with Willis' assurances at the time Fiesta Mart agreed to the portfolio policies.

       39.     The Master Property Policy stated that Willis of Illinois is authorized to issue

certificates of insurance "naming additional insureds and/or loss payees and/or mortgagees and

others for their respective rights and interests..." even absent a formal endorsement on the policy.

       40.     Willis did in fact issue certificates of insurance for Fiesta Mart. "Fiesta Mart,

L.L.C." is also identified as the Insured on over 70 certificates of insurance prepared and issued

by Willis respecting the Primary Policies for the relevant policy period. Each such certificate lists

all seven Primary Policies and states that "the policies of insurance listed below have been issued

to the insured named above for the policy period indicated."

       41.     Each Primary Policy was in force at the time of the Harvey Loss.

               D.      Fiesta Mart Submits the First Proofs of Loss and Willis Ensures that
                       Fiesta Mart is Paid the Proceeds.

       42.     The Primary Policies provide that it "shall be necessary for the Insured to render a

signed and sworn proof of loss to the Insurer or its appointed representative stating: the place, time




                                                  :
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and cause of loss, interest of tfie Insured and of all others, the value of the property involved, and

the amount of loss, damage or expense sustained."

        43.     The Primary Policies also state that "[1]oss, if any, shall be adjusted with and

payable to the Insured, or as directed by them."

        44.     On or about September 26, 2017, Fiesta Mart, through its Vice President and Chief

Financial Officer Wayne S. Peterson, submitted to the Primary Policy insurers signed and sworn

First Partial Proofs of Loss respecting the Harvey Loss (collectively, the "First Proofs").

        45.    The First .Proofs sought recovery for a"Flood (CAT #1743) loss" occurring on

August 26, 2017, due to "Flood loss associated with CAT #1743 - Hurricane Harvey." The location

specified was "[m]ultiple properties (grocery stores / supermarkets) in Houston, TX." The First

Proofs describe the "title and interest" of the insured in the properties at the time of the loss as

"Fiesta Mart, L.L.C." In the section to identify any other persons that had an interest or

encumbrance on the identified property, the Proofs say "None." The First Proofs also set forth the

claim numbers used by the Primary Policy insurers for the Harvey Loss.

       46.     Willis, as Fiesta Mart's broker, prepared the First Proofs and provided them to "

Fiesta Mart for its signature.

       47.     Willis in particular made sure that the insurance proceeds would be paid to the

correct party, Fiesta Mart: Willis "reminded the Markets that the check needs to be addressed to

Fiesta Mart and not ACON Investments." Email from B. Conant W. Peterson, Ex. 2.               _

       48.     Insurers for the Primary Policies accepted the First Proofs from Fiesta Mart and did

not challenge Fiesta Mart's right to submit them.

       49.     The Primary Policy insurers adjusted the First Proofs with Fiesta Mart and paid

Fiesta Mart directly the $7.5 million requested therein.




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       E.      Willis Represents that it is on Fiesta Mart's "Team" to seek Insurance
               Proceeds for Fiesta Mart's Business Interruption Loss

       50.     In addition to property damage, Fiesta Mart also suffered business interruption from

the Harvey Loss.

       51:     Each Primary Policy covers "the loss resulting from the necessary interruption of

business conducted by the Insured... caused by loss, damage, or destruction by any of the perils

covered herein during the term of this policy to real and personal property as covered herein."

       52.     Fiesta Mart sustained an actual loss resulting directly from the interruption of

business at certain of its stores caused by Hurricane Harvey flooding.

       53.     Fiesta Mart, not ACON, conducted the business that was interrupted at the subject

stores, and that those stores were operated, owned, and/or leased by Fiesta Mart and not ACON.

       54.     Beginning in September 2017, Fiesta Mart was contacted by forensic accountants

retained on behalf of the Primary Policy insurers, Matson Driscoll & Damico LLP ("MDD") to

gather information about the business conducted at the subject Fiesta Mart stores. MDD asked for

Fiesta Mart's weekly and monthly sales information, payroll reports, and a detailed claim for loss

of business income and extra expenses incurred. MDD also asked for detailed inventory and daily

sales figures for "Locations 10, 23, and 56." None of this information would apply to ACON.

       55.     Willis once again, as Fiesta Mart's broker, took charge and advised Fiesta Mart on

handling this aspect of the claim. In light of the insurers' retention of MDD and "[b]ecause of the

size and scope of Fiesta Mart's loss," Willis recommended that Fiesta Mart likewise hire forensic

accountants. Ex. 2. Willis in fact recommended that Fiesta Mart hire accountants affiliated with

Willis to represent Fiesta Mart's interest and to "assist you in the preparation and calculation of

your Business Interruption and Time Element (Civil Authority, Ingress/Egress) loss" and to "work

for Fiesta Mart as part of our loss team." Id. (emphasis added).



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        56.       Fiesta Mart took Willis' advice and retained the forensic accountants associated

with and recommended by Willis.

        F.        ACON Sells Fiesta Mart

        57.       On or about Apri130, 2018, ACON sold Fiesta Mart to a third party. Unbeknownst

to Fiesta Mart, once ACON sold Fiesta Mart, Willis decided that its own obligations to Fiesta Mart

were likewise finished. Willis began to work not to help Fiesta Mart, but on behalf of its other

client, ACON.

        G.        Willis Directs Fiesta Mart's Insurance Proceeds to ACON.

        58.       On information and belief, on or about August 31, 2018, ACON submitted signed

and sworn Second Partial Proofs of Loss under the Primary Policies in respect of the Harvey Loss

(collectively, the "Second Proofs"). The Second Proofs sought a recovery of $4,780,347, being a

partial loss of $12,530,3471ess a$250,000 deductible and a$7,500,000 first partial payment.

        59.       The Second Proofs covered the sarne Harvey Loss as the First Proofs. Specifically,

tlie Second Proofs:

              •   sought payment respecting "Flood loss associated with CAT #1743 - Hurricane
                  Harvey."

              •   described the damaged property as "[m]ultiple properties (grocery stores /
                  supermarkets) in Houston, TX."

              •   use the same claim numbers (2017019830, et seq.) as the First Proofs; and

              •   describe the "title and interest" in the damaged property as "Fiesta Mart, L.L.C."
                  with "None" identified as having other title, interests, or encumbrances in the
                  subject property.

       60.        At the time it submitted the Second Proofs for Fiesta Mart's loss, ACON had no

title or interest in Fiesta Mart, including in Fiesta Mart store numbers 10, 23, or 56.




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       61.     On information and belief, Willis assisted ACON in drafting and submitting the

Second Proofs. Willis further understood at that time that ACON no longer owned Fiesta Mart or

the damaged stores.

       62.     At the same time Willis was helping ACON take Fiesta Mart's insurance proceeds,

Willis ostensibly continued to advocate for Fiesta Mart as its broker.

       63.     For example, in September 2018, Willis sent materials reflecting that both the

affiliated forensic accountants recommended by Willis (and that Willis had encouraged Fiesta

Mart to hire) and those at MDD had agreed to employ a$250,000 deductible in their estimates of

the Harvey Loss. That figure is different from the $100,000 deductible that would otherwise apply

to Flood losses at the subject Fiesta Mart stores pursuant to paragraph 5(f) of the Primary Policies,

and is consistent with the $250,000 deductible set by Endorsement A1, the endorsement that

applies "[w]ith respects to the entity of, Fiesta Mart."

       64.     At no point did Willis sever its relationship with Fiesta Mart or give any indication

to Fiesta Mart that Willis was working to help ACON recover Fiesta Mart's insurance proceeds.

       65.     Fiesta Mart had no knowledge that ACON had filed its own Second Proofs. Fiesta

Mart continued to ask Willis for help in filing. Second Proofs for its Harvey Loss, as Willis had

assisted Fiesta Mart in filing the First Proofs.

       66.      Willis initially took the tactic of simply ignoring Fiesta Mart's requests. Finally, in

September 2018, after much delay, Willis responded and notified Fiesta Mart that Willis had

chosen to help ACON abscond with Fiesta Mart's insurance proceeds.

       67.      Willis made sure that ACON, not Fiesta Mart, would receive these proceeds by

ignoring Fiesta Mart's requests for help with the claims subject to the Second Proofs until ACON

had already received payment.




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        68.    On information and belief, ACON received $4,780,347 in insurance proceeds under

the Primary Policies respecting the Harvey Loss sought by the Second Proofs.

        69.    Prior to this disclosure, Willis never advised or intimated to Fiesta Mart that ACON

(not Fiesta Mart) allegedly held the . payout and other rights under the policies. In fact, Willis had

represented the exact opposite. For example, Willis told the insurance carriers to address the check

for the first proof of claim to Fiesta Mart. And when Fiesta Mart agreed to the portfolio policies,

it did so based in part on Willis' representation that Fiesta Mart would be fully protected as an

insured. Willis never indicated at any time that ACON would have a superior right to proceeds due

to recompense for damages to Fiesta Mart stores.

        70.    If Fiesta Mart had known that Willis believed that ACON would have a superior

right to insurance proceeds for claims of damage to Fiesta Mart's stores, Fiesta Mart would not

have used Willis as its broker or agreed to the portfolio policies.

        71.    If Fiesta Mart had known that Willis would divert insurance proceeds to ACON or

otherwise divert proceeds away from Fiesta Mart, Fiesta Mart would not have used Willis as its

broker or agreed to the portfolio policies.

        72.    If Fiesta Mart knew that Willis would breach its duties and obligations as a broker,

including ignoring emails and telephone calls from Fiesta Mart seeking advice from Willis about

its insurance needs, Fiesta Mart would not have used Willis as its broker or agreed to the portfolio

policies.

        73.    Willis not only made knowing and negligent misrepresentations to Fiesta Mart, but

it also breached its contractual obligation to "promptly inform" Fiesta Mart about any conflicts of

interest. Willis said nothing to Fiesta Mart about its insurance proceeds going directly to ACON




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under the insurance policies it secured for Fiesta Mart until ACON filed the Second Proofs and

until after ACON had already been paid.

        74.    Fiesta Mart was harmed by misrepresentations, breach of duties, and breach of the

Willis Terms and Conditions. Fiesta Mart lost $4,780,347 in insurance proceeds owed to it.

       75.     Fiesta Mart was forced to engage in long and costly litigation with ACON to try to

recoup these proceeds. Fiesta Mart's dispute with ACON ended in a settlement on February 14,

2020. Fiesta Mart obtained recovery of some of the insurance proceeds through that action, but

has not been made whole.

       76.     Fiesta Mart is owed millions of dollars in unrecovered policy proceeds, amounts

attributable to the delay, and attorneys fees and costs related to the improper payment to ACON

made at Willis' behest and with Willis' assistance.

      H.       Willis Ignores its Insured, Fiesta Mart, as Fiesta Mart Seeks its Assistance for
               Remaining Harvey Loss Coverage

       77.     On June 23, 2020, Fiesta Mart Chief Financial Officer Jeff Hook sent a letter to

Fiesta Mart's assigned Willis contacts, Blaine Conant and Nancy Collins. See Letter from J. Hook

to B. Conant and N. Collins, Ex. 3.

       78.     Mr. Hook informed Mr. Contant and Ms. Collins that Fiesta Mart had "incurred

substantial amounts for repair, replacement and reinstatement of its store #231ocated at 9419 Mesa

Drive, Houston, TX ("FM#23") and expects to incur more in the future." See emails from J. Hook

to B. Conant and N. Collins, Ex. 4. Mr. Hook continued, "I would like to set up a call with you

this week to discuss (i) our restoration and repair efforts at FM#23 and (ii) the submittal process

to receive the depreciation holdback for FM#23, both now and in the future." Id. Fiesta Mart is

owed approximately $6.6 million in insurance proceeds related to depreciation holdback for Store

0"



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         79.    As of June 30, 2020, Mr. Conant and Ms. Collins had not responded to Mr. Hook.

Mr. Hook sent another email on that date, asking Mr. Contant and Ms. Collins again to "please

advise." Id. Willis still did not respond. So, on July 10, 2020, Mr. Hook emailed them once again

stating, "[c]an you please respond to my emails? If you are no longer the Willis contact persons

for Fiesta Mart, please provide me with the contact information for our new representative." Id

As of the date of this filing, Fiesta Mart has still not received a response from Willis.

         80.    Willis' failure to respond to Fiesta Mart's inquiry is a breach of the Terms and

Conditions, which require Willis to provide Fiesta Mart with accurate timely facts, information

and direction, and promptly respond to Fiesta Mart's requests for coverage information. See Ex. 1

at1,2.

         81.    Willis' failure to respond to Fiesta Mart also breaches its duties under the Texas

Insurance Code.

         82.    Given what happened with the Second Proofs, Fiesta Mart on information and

belief believes that Willis may be once again working against Fiesta Mart's interests. In any event,

Willis is blocking Fiesta Mart from receiving the depreciation holdback it is entitled to by ignoring

Fiesta Mart's multiple requests for assistance; Willis, by delaying, leaves Fiesta Mart at risk that

the insurance carriers will claim lack of diligence or otherwise seek to minimize Fiesta Mart's

recovery of proceeds owed under the policies.

         83.    Fiesta Mart has suffered damages due to delays because of Willis' refusal to act.

                                      First Cause of Action
                      (Violation of Tex. Ins. Code §§ 541.051 and 541.061)

         84.    Fiesta Mart realleges the material facts alleged in the preceding paragraphs as if set

forth fully herein.




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        85.     Willis knowingly made statements misrepresenting the terms of the policies it

secured for Fiesta Mart.

        86.     Willis kriowingly made statements misrepresenting the benefits or advantages

promised by the policies it secured for Fiesta Mart.

        87.     Willis knowingly made untrue statements of material fact.

        88.    Willis knowingly made statements in a manner that would mislead a reasonably

prudent person to a false conclusion of a material fact.

        89.    Willis knowingly failed to state a material fact necessary to make other statements

not misleading, considering the circumstances under which the statements were made.

        90.    Fiesta Mart is entitled to three times its actual damages because Willis knowingly

committed the acts complained of pursuant to Tex. Ins. Code § 541.152.

                                     Second Cause of Action
                                      (Sreach of Contract)

        91.    Fiesta Mart realleges the material facts alleged in the preceding paragraphs as if set

forth fully herein

        92.    The Terms and Conditions are a valid, enforceable contract.

        93.    Fiesta Mart has performed its obligations under the Terms and Conditions.

        94.    Willis breached the Terms and Conditions by failing to 1) notify Fiesta Mart of a

conflict of interest, 2) provide Fiesta Mart with accurate timely facts, information and direction,

and 3) promptly respond to Fiesta Mart's requests for coverage information.

        95.    Willis' breach of contract has resulted in millions of dollars in losses for Fiesta

Mart.




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                                      Third Cause of Action
                             (Negligence/Negligent Misrepresentation)

          96.    Fiesta Mart realleges the material facts alleged in the preceding paragraphs as if set

forth fully herein.

          97.    Willis made misrepresentations to Fiesta Mart in the course of Willis' business or

in a transaction in which Willis had an interest.

          98.    Willis provided false information for the guidance of Fiesta Mart.

          99.    Willis failed to exercise reasonable care or competence in obtaining or

communicating information to Fiesta Mart.

          100.   Fiesta Mart's reliance on Willis' representations was justifiable given Willis'

expertise as an insurance broker.

          101.   Willis' negligent misrepresentation proximately caused Fiesta Mart to suffer

injuries.

                                    Attorney Fees and Expenses

          102.   Fiesta Mart has been required to retain attorneys to protect its rights and prosecute

this claim. Pursuant to Tex. Civ. Prac. & Rem. Code § 38.001 and Tex. Ins. Code § 541.152,

Plaintiff is entitled to recover its reasonable attorney fees and costs necessarily expended in this

matter.

                                        Conditions Precedent

          103.   All conditions precedent to Fiesta Mart's prayer for relief have been performed or

occurred.

                                       Request for Disclosure

          104.   Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Fiesta Mart requests

that Defendant disclose the information and materials listed in Rule 194.2 within thirty (30) days.



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                                           Jury Demand

         105. Fiesta Mart demands a trial by jury with regard to all issues of fact in relation to its

claims and causes of action asserted herein or in any amended or supplemental pleading.

                                          Prayer for Relief

         Fiesta Mart respectfully requests, after a final hearing or trial, the Court enter judgment

against Defendants and award to Academy its actual damages, treble damages, pre- and post-

judgment interest, attorney's fees and court costs, and all other relief at law or in equity to which

it is entitled.



Dated: September 4, 2020                        Respectfully submitted,


                                               /s/ Tracy N. LeRoy
                                               Tracy N. LeRoy
                                               State Bar No. 24062847
                                               Rhuju Vasavada
                                               State Bar No. 24088579
                                               YETTER COLEMAN LLP
                                               811 Main Street, Suite 4100
                                               Houston, Texas 77002
                                               (713) 632-8000
                                               (713) 632-8002
                                               tleroy@yettercoleman.com
                                               rvasavada@yettercoleman.com

                                               Attorneys for Plaintiff




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                       EXHIBIT I
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   Standard Terms and Conditions for U.S. Property & Casualtv Retail Accounts

Please note the following terms and conditions related to your decision to utilize Willis
Towers Watson to purchase insurance coverage, products and/or services:

Services and Resnonsibilities

The services we provide to you will rely in significant part on the facts, information and
direction provided by you or your authorized representatives. In order to make our
relationship work, we must each provide the other with accurate and timely facts,
information and direction as is reasonably required. You must provide us with complete
and accurate information regarding your loss experience, risk exposures, and changes in
the analysis or scope of your risk exposures and any other information reasonably
requested by us or insurers. It is important that you advise us of any material changes in
your business operations that may affect our services or the insurance coverages we place
for you. A factor or circumstance is material if it would influence the judgment of a
prudent insurer in determining prem'ium and whether or not they would underwrite the
risk. Therefore, all information which is material to your coverage requirements or
which might influence insurers in deciding to accept your business, finalizing the terms to
apply and/or the cost of cover, must be disclosed. Failure to make full disclosure of
material facts might potentially allow insurers to avoid liability for a particular claim or
to void the contract. This duty of disclosure applies equally at renewal of your existing
coverage and upon placement of new lines of coverage. Willis Towers Watson will not
be responsible for any consequences which may arise from any delayed, inaccurate or
incomplete information.

We will assess the financial soundness of the insurers we recommend to provide your
coverages based on publicly available information, including that produced by well-
recognized rating agencies. Upon request, we will provide you with our analysis of such
insurers. We cannot, however, guarantee or warrant the solvency of any insurer or any
intermediary that we may use to place your coverage.

If you have a multi-year policy, it is important that you understand the limitations
associated with the coverage options and the possibility that the financial strength of the
carrier may change throughout the term of the policy. We recommend that you review
the insurer's ratings for any downgrades during the term of this multi-year policy.

The final decisions with respect to all matters relating to your insurance coverages, risk
management, and loss control needs and activities are yours. We will procure the
insurance coverage chosen by you, prepare or forward insurance binders, and review and
transmit policies to you.

If your insurance risks are in more than one jurisdiction, we, where required, will liaise
between you and insurers to agree how to apportion the premium between applicable
jurisdictions, and the amount of insurance premium tax payable in each jurisdiction. In
providing such services, Willis Towers Watson is acting in its capacity as an insurance


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broker. You should seek your own advice in relation to such tax laws where you
consider it necessary. We will not be liable to you should the apportionment of premium
or amount of tax payable under the policy be challenged by any tax authority. In
addition, we will not be liable to you should the insurers fail, or refuse, to collect and pay
such insurance premium tax to the relevant authorities.

We will review all binders, policies and endorsements for the purpose of confirming their
accuracy and conformity to negotiated specifications and your instructions and advise
you of any errors in, or recommended changes to, such policies. You agree that you will
also review all such documents and advise us of any questions you have or of any
document or provision which you believe may not be in accordance with your
instructions as soon as possible, and in no event longer than two weeks, after you receive
them. Your coverage is defined by the terms and conditions detailed in your insurance
policies and endorsements. Your review of these documents, and any review you may
seek from outside legal counsel or insurance consultants, is expected and essential. .

We will meet, as requested by you, with your representatives to explain coverage and
policies. We will promptly respond to your requests for coverage information, analysis of
changing market conditions, and assistance in reporting subsequent changes in information
to insurance companies and service providers.

In our capacity as insurance brokers, we do not provide legal or tax advice. We encourage
you to seek any such advice you want or need from competent legal counsel or tax
professionals.

Confidentiality

We will treat information you provide us in the course of our professional relationship as
confidential and will use it only in performing services for you, except as directed by you
or stated herein. We may share this information with third parties as may be required to
provide our services. We may also disclose this information to the extent required to
comply with applicable laws or regulations or the order of any court or tribunal. We may
share this information with other affiliated Willis Towers Watson companies in order to
help provide our services and for matters connected with the management, development
or operation of our and their business, and to the extent we do so, any such affiliated
Willis Towers Watson companies will also keep your information confidential subject to
our agreement with you. By providing us with data, you agree and represent that you are
fully authorized to possess that data and to provide it to us, and further that we are fully
authorized to obtain, maintain, process and transfer such data in a commercially
reasonable manner and as we reasonably deem advisable in order to provide our services.
You also agree that we may aggregate and anonymise your information and may disclose
to third parties certain anonymised or industry-wide statistics or other information which
may include information relating to you, but that we will not, without your consent,
reveal any information specific to you other than on an anonymised basis and as part of
an industry or sector-wide comparison. In our use of the information that you provide us,
we agree that we will comply with all applicable privacy laws, and that we have


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implemented and will maintain commercially reasonable and appropriate security
measures in order to protect sensitive information from unauthorized use or disclosure.
Records you provide us will remain your property and will be returned to you upon
request, although we will have the right to retain copies of such records to the extent
required in the ordinary course of our business or by law. You will treat any information
we provide to you, including data, recommendations, proposals, or reports, as
confidential, and you will not disclose it to any third parties. You may disclose this
information to the extent required to comply with applicable laws or regulations or the
order of any court or tribunal. We retain the sole rights to all of our proprietary computer
programs, systems, methods and procedures and to all files developed by us.

Willis Towers Watson represents and warrants that, with respect to the personal
information of any Massachusetts resident, (1) it has and is capable of maintaining
appropriate security measures to protect Personal Information consistent with 201 CMR
17.00 and any applicable federal regulations; and (2) as of the Agreement Effective Date,
it has and will at all times during the term of this Agreement, maintain a comprehensive
written information security program that complies with applicable privacy and data
security laws. Willis Towers Watson's information security program shall contain at
least the following:

   • Reasonable restrictions upon physical access to records containing personal
     information and storage of such records and data in locked facilities, storage
     areas or counters.

   • Regular monitoring to ensure that the comprehensive information security
     program is operating in a manner reasonably calculated to prevent unauthorized
     access to or unauthorized use of personal information; and upgrading
     information safeguards as necessary to limit risks.

   • Reviewing the scope of the security measures at least annually or whenever
     there is a material change in business practices that may reasonably implicate
     the security or integrity of records containing personal information.

   • Documenting responsive actions taken in connection with any incident
     involving a breach of security, and mandatory post-incident review of events
     and actions taken, if any, to make changes in business practices related to
     protection of personal information.

Carrier Quotes

The quotes we have provided to you are based upon the information that you have
provided to us. If you discover that previously submitted information is inaccurate or
incomplete, please advise us immediately so that we can attempt to revalidate terms with
insurers.




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A carrier quote is an offer to provide coverage. Offers can be modified or withdrawn
prior to your acceptance through your order to bind coverage. The quote itself is not a
legally binding commitment or a confirmation of actual coverage. Should you choose to
bind coverage, we will secure a formal commitment, typically in the form of a binder on
a form issued or approved by the carrier(s) at issue.

Compensation and Disclosure

Willis Towers Watson is an insurance producer licensed to do business worldwide,
including in all 50 states and the District of Columbia. Insurance producers are authorized
by their license to work with insurance purchasers and discuss the benefits and terms and
conditions of insurance contracts; to offer advice concerning the substantive benefits of
particular insurance contracts; to sell insurance; and to obtain insurance for purchasers.
The role of an insurance producer in any particular transaction involved one or more of
these activities.

The compensation that will be paid to Willis Towers Watson will vary based on the
insurance contract it sells. Depending on the insurer and insurance contract you select,
compensation may be paid by the insurer, selling the insurance contract or by another
third party. Such compensation may be contingent and may vary depending on a number
of factors, including the insurance contract and insurer you select. In some cases, other
factors such as the volume of business Willis Towers Watson provides to the insurer or
the profitability of insurance contracts Willis Towers Watson provides to the insurer also
may affect compensation. Willis Towers Watson may accept this compensation in
locations where it is legally permissible, and meet standards and controls to address
conflicts of interest. Because insurers account for contingent payments when developing
general pricing, the price you pay for your policies is not affected whether Willis Towers
Watson accepts contingent payments or not. If you prefer that we not accept contingent
compensation related to your policy, we will request that your insurer(s) exclude your
business from their contingent payment calculations.

Upon request, Willis Towers Watson will provide you with additional information about
the compensation Willis Towers Watson expects to receive based in whole or in part on
your purchase of insurance, and (if applicable) the compensation expected to be received
based in whole or in part on any alternative quotes presented to you.

To the extent Willis Towers Watson is compensated by commissions paid to us by
insurers, they will be earned for the entire policy period at the time we place policies for
you. We will be paid the commission percentage stated for the placement of your
insurance as indicated, and will receive the same commission percentage for all
subsequent renewals of this policy unless we negotiate a different commission percentage
with you.

Willis Towers Watson negotiates commission rates with certain insurers on a corporate
level. If the rate on your placement is lower than the negotiated rate, Willis Towers
Watson will collect the difference directly from the insurer. These payments will not


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increase the cost of your insurance or otherwise impact your premium or rates. These
negotiated rates are detailed at:
littp://www.willis.com/About Willis/The Willis Way/Commission Rates/.

Wi11PLACE, a proprietary online tool, provides Willis Towers Watson brokers with
access to global placement information so that we can seek to develop solutions for you
with appropriate markets at competitive prices and terms. Some insurers pay Willis
Towers Watson a fee for annual reporting on their book of business. Some of these
insurers also pay Willis Towers Watson an additional fee for more detailed reporting on
placements matched through the Wi11PLACE system. Any insurer payments related to the
Wi11PLACE system will not increase the cost of your insurance.

Willis Towers Watson develops panels of insurers in certain market segments.
Participating insurers are reviewed on a variety of factors. Commission rates on panel
placements may be higher than rates paid on business placed outside of the panel process.
Willis Towers Watson discloses its commission rates to clients on quotes obtained
through the panel process prior to binding the coverage. In some instances, insurers pay
an administration fee to participate in the panel process, or for additional reporting. Your
Willis Towers Watson broker will provide you with additional information on Willis
Towers Watson Panels upon request.

Where permitted by applicable law, Willis Towers Watson may assess a policy service
fee. The fee is on a per-policy basis and is calculated on the premium amount. The
policy service fee is compensation to Willis Towers Watson for such value-added
services and resources including dedicated industry practices, technical resources,
placement support and our strategic outcomes practices. The fee is not required by any
insurer or regulator, nor is it included in the premium charged. It will be listed separately
on your invoice. It is not necessary to procure a policy to obtain many of these and other
services on a consultancy basis for a separate fee.

In some cases the use of a wholesale broker may be beneficial ' to you. We will not
directly or indirectly place or renew your insurance business through a wholesale broker
unless we first disclose to you in writing any compensation we or our corporate parents,
subsidiaries or affiliates will receive as a result.

If wholesalers, underwriting managers or managing general agents have a role in
providing insurance products and services to you, they will also earn and retain
compensation for their role in providing those products and services. If any such parties
are corporate parents, subsidiaries or affiliates of ours, any compensation we or our
corporate parents, subsidiaries or affiliates will receive will be included in the total
compensation we disclose to you. If such parties are not affiliated with us, and if you
desire more information regarding the compensation those parties will receive, please
contact us and we will assist you in obtaining this information.




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In the ordinary course of business we may also receive and retain interest on premiums
you pay from the date we receive the funds until we pay them to the insurers or their
intermediaries, or until we return them to you after we receive such funds.

Commission schedules and other compensation arrangements related to our services on
your behalf may change over time and may not always be congruent with your specific
policy period. Willis Towers Watson will provide you with accurate information to the
best of our knowledge when information is presented to you, but it is possible that
compensation arrangements may change over time. We will update you on any changes
to our compensation prior to your renewal, and will do so at any time upon your request.

As an insurance intermediary, we normally act for you. However, we or our corporate
parents, subsidiaries or affiliates may provide services to insurers for some insurance
products. These services may include (a) acting as a managing general agent, program
manager or in other similar capacities which give us binding authority enabling us to
accept business on their behalf and immediately provide coverage for a risk; (b)
arranging lineslips or similar facilities which enable an insurer to bind business for itself
and other insurers; or (c) managing lineslips for insurers. Contracts with these insurers
may grant us certain rights or create certain obligations regarding the marketing of
insurance products provided by the insurers.

We may place your insurance business under such a managing general agent's
agreement, binding authority, lineslip or similar facility when we reasonably consider
that these match your insurance requirements/instructions. When we intend to do so, we
shall inform you and disclose the compensation payable to Willis Towers Watson in
connection with the placement of the insurance coverage.

We may also provide reinsurance brokerage services to insurers with which your
coverage is placed pursuant to separate agreements with those insurers. We may be
compensated by the insurers for these services in addition to any commissions we may
receive for placement of your insurance coverages.

Subsidiaries of Willis North America Inc are members of a major international group of
companies. In addition to the commissions received by us from insurers for placement of
your insurance coverages, other parties, such as excess and surplus lines brokers,
wholesale brokers, reinsurance intermediaries, underwriting managers and similar parties
(some of which may be owned in whole or in part by our corporate parents or affiliates),
may earn and retain usual and customary commissions for their role in providing
insurance products or services to you under their separate contracts with insurers or
reinsurers.

The insurance market is complex, and there could be other relationships which are not
described in this document which might create conflicts of interest. If a conflict arises for
which there is no practicable way of complying with this commitment, we will promptly
inform you and withdraw from the engagement, unless you wish us to continue to
provide the services and provide your written consent. Please let us know in writing if


US Retail Conditions                      Page 6 of 10                           05 January 2016
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 WillisTowersWatson 1■1'1'1.1

you have concerns or we will assume that you understand and consent to our providing
our services pursuant to these terms.

The Foreign Account Tax Compliance Act (FATCA) is a U.S. law aimed at foreign
fmancial institutions and other financial intermediaries (including insurance companies
and intermediaries such as brokers) to prevent tax evasion by U.S. citizens and residents
through offshore accounts. FATCA only applies if you are a U.S. company or individual
or a non-U.S. company paying premium through a U.S. insurance broker to a non-U.S.
insurer. In order to comply with FATCA, insurance companies and intermediaries must
meet certain legal requirements. Insurance placed with an insurance company that is not
FATCA compliant may result in a 30% withholding tax on your premium. Where
FATCA is applicable to you, in order to avoid this withholding tax, Willis Towers
Watson will only place your insurance with FATCA-compliant insurers and
intermediaries for which no withholding is required unless you instruct us to do otherwise
and provide your advance written authorization to do so. If you do instruct Willis Towers
Watson to place your insurance with a non-FATCA compliant insurer or intermediary,
you may have to pay an additional amount equivalent to 30% of the premium covering
U.S.-sourced risks to cover the withholding tax. If you instruct us to place your insurance
with a non-FATCA compliant insurer but you do not agree to pay the additional 30%
withholding if required, we will not place your insurance with such insurer. Please
consult your tax adviser for full details of FATCA.

Premium Financing

You may choose to use a premium finance company, property appraiser, structured
settlement firm. or other similar service provider in connection with the insurance
coverages we place for you or the services we provide to you. Premium finance options
are not always available, but where they are, Willis Towers Watson currently works with
industry leading finance providers for this service. Where permitted by law, we receive a
fee for the administrative services we provide those companies. These services include
processing the premium finance applications and marketing and sales support they do not
have. If you would like more information about the fee we receive, please let us know.

Premium Payment/Handling of Funds

You agree to provide immediately available funds for payment of premiums by the
payment dates specified in the insurance policies, invoices or other payment documents.
Failure to pay premium on time may prevent coverage from incepting or result in
cancellation of coverage by the insurer. ,,We will not be responsible for any consequences
that may arise from any delay or failure by you to pay the amount payable by the
indicated date.

We will handle any premiums you pay through us and any funds which we receive from
insurers or intermediaries for . payment or return to you in accordance with the
requirements and restrictions of applicable state and federal insurance laws and
regulations and state unclaimed property laws. In some cases we may transfer your funds


US Retail Conditions                     Page 7 of 10                          05 January 2016
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directly to insurers. In other cases we may be required to transfer your funds to third
parties such as wholesale brokers, excess and surplus lines brokers, or managing general
agents for carrying out transactions for you.

Surplus Lines Placements

If a surplus lines, non-admitted and/or non-licensed insurer was used to quote your
coverage, their premium rates, coverage terms and policy forms are not regulated by your
home state. Their premium is subject to a surplus lines premium tax which is in addition
to the premium. In the event of insolvency you will not be indemnified by any state
guaranty fund for unpaid claims.

Claims

We will inform you of the reporting requirements for claims, including where claims should
be reported and the method of reporting to be used, if applicable. Please carefully review
any claims-reporting instructions or information we provide. Failure to timely and properly
report a claim may jeopardize coverage for the claim. In addition, you should retain copies
of all insurance policies and coverage documents as well as claims-reporting instructions
after temiination of the policies because in some cases you may need to report claims after
termination of a policy.

Ethical Business Practice

We do not tolerate unethical behavior either in our own activities or in those with whom we
seek to do business. We will comply with all applicable laws, regulations, and rules.

Sanctions

The sanctions profile of different business(es) may differ on the basis of a number of
complex factors. Whether a sanctions program applies to you depends on a number of
factors, including your ownership structure, control, location, and the nationality of your
employees. In certain circumstances, the United States and other countries prohibit or
restrict companies from conducting business in certain jurisdictions (e.g. Cuba), and can
sanction companies who conduct such business. We cannot advise on the applicability of
sanctions programs either to you or to insurers nor can we guarantee or otherwise warrant
the position of any insurer under existing or future sanctions programs. You should take
legal advice as you deem appropriate in this regard.

We will comply with all applicable sanctions programs and you are advised that, where
obliged by law, we may have to take certain actions, including freezing of funds held on
behalf of parties and individuals as required by sanctions programs.




US Retail Conditions                     Page 8 of 10                          05 January 2016
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 WillisTowersWatson 1■1'1'1.1

Intellectual Property

Willis Towers Watson shall own and retain all right, title, and interest in and to the
following (collectively, "Willis Towers Watson Property"): (i) all software, hardware,
technology, documentation, and information provided by Willis Towers Watson in
connection with the Claim and Risk Control Services; (ii) all ideas, know-how,
methodology, models and techniques that may be developed, conceived, or invented by
Willis Towers Watson during its performance under this Agreement; and (iii) all
worldwide patent, copyright, trade secret, trademark and other intellectual property rights
in and to the property described in clauses (i) and (ii) above. Accordingly, all rights in
the Willis Towers Watson Property are hereby expressly reserved.

Electronic Communication

We agree that we may communicate with each other from time to time by electronic mail,
sometimes attaching further electronic data as and when the circumstances require
attachments. By consenting to this method of communication you and we accept the
inherent risks (including the security risks of interception of or unauthorized access to
such communications, the risks of corruption of such communications and the risks of
viruses or other harmful devices). We each agree, however, that we will employ
reasonable virus checking procedures on our computer systems, and we will each be
responsible for checking all electronic communications received for viruses. You will
also be responsible for checking that messages received are complete. In the event of a
dispute neither of us will challenge the legal evidentiary standing of an electronic
document, and the Willis Towers Watson system shall be deemed the definitive record of
electronic communications and documentation.

Please note that our system blocks certain file extensions for security reasons, including,
but not necessarily limited to, .rar, .text, .vbs, .mpeg, .mp3, .cmd, .cpl, .wav, .exe, .bat,
.scr, .mpq, .avi, .com, .pif, .wma, .mpa, .mpg, .jpeg. Emails with such files attached will
not get through to us; and no message will be sent to tell you they have been blocked. If
you intend to send us emails with attachments, please verify with us in advance that our
system will accept the proposed form of attachment.

Other Agreements

To the extent there is a conflict between these terms and conditions and a separately
negotiated and signed agreement between you and Willis Towers Watson, the relevant
portions of the signed agreement will control.

Severability

The provisions of this agreement shall be severable and, in the event any provision or
portion of any provision shall be construed by any court of competent jurisdiction to be
invalid, the same shall not invalidate any other provision of this agreement or the
remainder of the enforceable portion of the provision.


US Retail Conditions                      Page 9 of 10                           05 January 2016
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 WillisTowersWatson 1.1'1'1.1
Termination

In the event of terniination, we will be entitled to receive and retain any commissions
payable under the terms of our commission agreements with the insurers in relation to
policies placed by us, whether or not the commissions have been received by us.

Our obligation to render services under the agreement ceases on the effective date of
termination of the agreement. Nevertheless, we will process all remaining deposit
premium installments on policies in effect at the time of termination. Claims and
premium or other adjustments may arise after our relationship ends. Such items are
normally handled by the insurance broker serving you at the time the claim or adjustment
arises. However, it may be mutually agreed that we will provide services in these areas
after the termination of our relationship for mutually agreed additional compensation.
The obligations set forth under "Confidentiality" above shall survive any termination of
the agreement.

Choice of Law

Our agreement for services shall be govemed by and construed in accordance with the
laws of the state in which our office is located.

Inguiries and Comtilaints

Your satisfaction is important to us. If you have questions or complaints, please inform
the person who handles your account or contact the head of our office. Alternatively, you
may call 1-866-704-5115, the toll free number we have set up exclusively for client
feedback and complaints.




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                       EXHIBIT 2
            Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 40 of 66




From:                Conant, Blaine <Blaine.Conant@WillisTowersWatson.com >
Sent:                Thursday, September 21, 2017 9:54 AM
To:                  Wayne Peterson
Cc:                  Stacy Walker '
Subject:             ACON Investments I Fiesta Mart I Hurricane Harvey I MDD Preliminary RFI
Attachments:         Preliminary RFI - Acon Investments - Fiesta Mart.pdf



Wayne,

It was good talking with you yesterday afternoon. I am happy that the Markets agreed to the $6.5M additional advance.
Please let me know when the advance payment is received. I have reminded the Markets that the check needs to be
addressed to Fiesta and not ACON Investments. If that is not the case when you receive the check, please let me know
as soon as possible.

Because of the size and scope of Fiesta's loss the Insurers have hired an accountant (Glen - MDD) and building
consultant (John - JS Held) for the purpose of assisting Boris with the adjustment and management of Fiesta's loss. It is
important to note that the adjuster, consultants and Insurers do NOT prepare and calculate Fiesta's BI and TE loss. The
Insurers review and audit the information that is provided (per the attached Document request) to them by Fiesta. The
adjuster is an advocate for the Insurers and the consultants engaged are part of the adjuster's advocacy team. In other
words, they work for and are paid by the Insurers. My role is to advocate for Fiesta's best interests regarding coverage
issues and quantification of damages. As Boris works for the Insurers, I work for you.

Per our discussion the Policy provides coverage for engaging a Forensic Accountant to assist you in the preparation and
calculation of your Business Interruption and Time Element (Civil Authority, Ingress/Egress) loss. The policy limit for this
coverage is not to exceed $500,000. The time and expenses incurred by engaging an accountant are paid by the Insurers
NOT by Fiesta up to the policy limit of $500,000.

Engaging the services of a Forensic Accountant will save us much time for Stacy, you and me. Doing so will provide allow
Fiesta's folks to focus on their current job duties and not become inundated working on the loss while handling current
job responsibilities. The accountant engaged would work for Fiesta as a part of our loss team. AII loss preparation and
calculation will be completed in accordance to Fiesta's strategic initiatives.

There is a distinct difference between an accountant and a forensic account. Many times an Insurance loss is different
than a business loss. As such, the presentation and calculation of the BI/TE loss needs to be properly formatted in
accordance to the policy wording and requirements. The forensic accountant specializes and is familiar with the
accounting aspects of the adjustment process which therefore reduces the time it takes so secure your recovery
amount.

WTW does have Forensic Accountants on staff that can assist Fiesta in the preparation and calculation of the BI/TE loss.
Because of the size and scope of this loss, I would recommend Dan Frio and Chris Simons to assist us. Dan is a CPA and
began his career (doing what Glen Silver MDD is doing for Insurers) reviewing BI/TE losses for Insurers for fifteen years.
He has spent the past sixteen years preparing and calculating BI/TE losses for clients. Chris Simons is also a CPA and
began his career in the same way as did Dan. Both have handled losses for clients in the tens of millions of dollars in
North America and internationally.

Please let me know if you want me to set up a call with either Dan or Chris.

Thanks
                Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 41 of 66


Blaine D. Conant
Senior Vice President / Senior Consultant
National Property Claims — Risk Control & Claim Advocacy Practice

Willis Towers Watson
801 South Figueroa Street I Suite 800 1 Los Angeles, CA 90017
Tel: 213-607-6358
Cell: 909-618-8209

blaine.conant@willistowerswatson.com

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For information pertaining to V~liliis' em<,ii coniidentiality an dmonitoring policy, usage restrictions, or for specific corripany registration and rEgufatory status .
information, please visit http://www.willis.comlemail trailer.aspx

we are now able to offer our clients Fan enciypted email capability for secun: communication purposes. If you wish to take advantage of this service or learn moro
about it, ptease let me know or contact your Client Advocate for full details.
Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 42 of 66




                       EXHIBIT 3
      Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 43 of 66




                                             June 23, 2020


VIA EMAIL (Blaine.Conant(a),WillisTowersWatson.com)


Blaine Conant
Willis Towers Watson
233 S. Wacker Drive, Suite 2000
Chicago, IL 60606

         Re:    Insured:        ACON Investments, LLC (ACON Fiesta Holdings, LLC)
                Loss:           Property Damage - Flood/Hurricane Harvey (CAT #1743)
                Location:       Various Fiesta Mart stores — Houston, TX
                Date of Loss:   August 26, 2017
                Policy Period: 06/01/17-18
                VSI File No.:   NYC17648090
                Your Claim No.: Please advise

Dear Blaine:

       I hope you are well in this difficult time. As you know, Fiesta Mart suffered extensive
property damage from Hurricane Harvey. Litigation developed between Fiesta Mart and its
former owner, ACON Investments, LLC, over rights to irisurance recoveries in respect thereof.
In February 2020, the parties settled that dispute. As part of that settlement, ACON Investments,
LLC and Fiesta Holdings Investments, LLC (f/k/a ACON Fiesta Holdings, LLC) assigned to
Fiesta Mart their rights to depreciation holdback in respect of such damage.

         Fiesta Mart has incurred substantial amounts for repair, replacement and reinstatement of
its store #23 located at 9419 Mesa Drive, Houston, TX ("FM#23") and expects to incur more in
the future. I would like to set up a call with you this week to discuss (i) our restoration and
repair efforts at FM#23 and (ii) the submittal process to receive the depreciation holdback for
FM#23, both now and in the future.

         Please let me know of some convenient days and times this week for a call. Thank you.

                                                 Very truly yours,


                                                 Jack Hook,
                                                 Chief Financial Officer

cc:      Nancy Collins (Nancy.C.Collins(a,WillisTowersWatson.com)
                                         )




           Fiesta Mart, L.L.C. 15444 Westheimer Road, Suite 1011 Houston, TX 77056 1713.869.5060
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                       EXHIBIT 4
            Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 45 of 66




From:                   Jack Hook <jack.hook@blcmarkets.com >
Sent:                   Friday, July 10, 2020 7:16 PM
To:                     Conant, Blaine
Cc:                     Collins, Nancy
Subject:                RE: Fiesta Mart




Blaine and Nancy,
Can you please respond to my emails?
If you are no longer the Willis contact persons for Fiesta, please provide me the contact information for our new
representative.
Thank you, Jack




From: Jack Hook
Sent: Tuesday, June 30, 2020 9:00 AM
To: Conant, Blaine <Blaine.Conant@WillisTowersWatson.com >
Cc: Collins, Nancy <Nancy.C.Collins@WillisTowersWatson.com>
Subject: RE: Fiesta Mart



Blaine and Nancy,
Please advise.
Thanks,Jack



From: Jack Hook
Sent: Tuesday, June 23, 2020 11:13 AM
To: Conant, Blaine <Blaine.Conant@WillisTowersWatson.com>
Cc: Collins, Nancy <Nancy.C.Collins@WillisTowersWatson.com>
Subject: Fiesta Mart



Hello Blaine,
Please find attached a letter regarding Fiesta Mart.
Regards,



Jack Hook
Chief Financial Officer
Direct Phone: (562) 616-8803
Bodega Latina Corp.
14601B Lakewood Blvd. Paramount, CA 90723
elsupermarkets.com I fiestamart.com


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                Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 46 of 66



                                                                                     CSJ:    0048-04-096
                                                                                     PARCEL: 10

                                        CAUSE NO. 20-C-3293
             THE STATE OF TEXAS                  §         CONDEMNATION PROCEEDING
                                                 §
             0                                   §                FILED IN THE
                                                 §         COUNTY  COURT AT LAW NO.
             ONE BENT TREE, LTD., A TEXAS        §
             LIMITED PARTNERSHIP, ET AL          §           OF ELLIS COUNTY, TEXAS

                                                    NOTICE OF HEARING

            TO:      SUNAMERICA INC., A DELAWARE CORPORATION
                    By Serving: The Secretary of State of the State of Texas (or any Assistant Secretary of
                                 State, or any clerk having charge of the corporation department of the
                                 Secretary of State's Office), Registered Agent
                                 Statutory Documents Section - Citations Unit
                                 1019 Brazos Street, Room 214
                                 Austin, Texas 78701

                    Principal Home Office Address:           SunAmerica Inc., a Delaware Corporation
                                                             One SunAinerica Center, 2nd Floor
                                                             Los Angeles, California 90067
                                                             Attn: Michael L. Fowler, Vice President

                   You are hereby notified that the State of Texas, acting by and through the Texas
            Transportation Conunission, on the lst          day of     September     , 2020, filed its First
            Amended Petition with the Clerk of the above referenced Court of Ellis County, Texas, seeking
            the condemnation of certain land, a true copy of which First Amended Petition is hereby attached
            and made for a description of the real property sought to be condemned, for a statement of the
            purposes of condemnation, and for all other legal purposes.
                    Pursuant to Governor Abbott's March 13, 2020 Disaster Declaration due to COVID 19 and
            the Supreme Court's First Emergency Order Regarding the COVID-19 State of Disaster (Misc.
            Docket No. 20-9042), the undersigned Commissioners have set the time and place of hearing the
            parties and said matters as 10 o'clock E1 .m. on the 4th day of November                 , 2020,
            by telephone or video conference located in said County. Said telephone or video conference may
            be accessed by calling     (877) 853-5257                                         and entering
            access code      982 3615 6077                     , followed by the pound (#) syrnbol.
                   Said telephone or video conference may also be accessed on the internet using the
            information below:                     https://hannareporting.zoom.us/j/98236156077?
                                 Meeting specific URL: pwd=NXROQnRDNElOK21qTT1~.'dGtYamxIUT09
                                 Meeting number: 982 3615 6077
                                 Meeting password: 074752
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                Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 47 of 66




                    Notice is also given that this telephone or video conference may be recorded and/or
            transcribed.
                    You are hereby notified to appear at the time and place aforesaid for the purposes of
            offering any evidence you desire on the issue as to the damage to be assessed against the State of
            Texas and to be paid to the owners of said property to be condemned.
                     WITNESS OUR HANDS, this the             211d day of              September   2020.

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                                           (SEItVICE OF leTOTICE ATTACHED)
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                  Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 48 of 66                          Krystal Valde
                                                                                                                  County Clei
                                                                                       CSJ:      0048-04-0 ~0lis County, Texs
                                                                                       PARCEL: 10

                               CAUSE NO.                         20-C-3293
             THE STATE OF TEXAS                                    §        CONDEMNATION PROCEEDING
                                                                   §
             V.                                                    §               FILED IN THE
                                                                   §       COUNTY COURT AT LAW NO. 1
             ONE BENT TREE, LTD., A TEXAS                          §
             LIMITED PARTNERSHIP, ET AL                            §          OF ELLIS COUNTY, TEXAS

                       ORDER SETTING HEARING BEFORE SPECIAL COMMISSIONERS

                    We, the undersigned Special Commissioners appointed to assess the damages in the above

            proceedings, having met on this date to set a time and place for hearing the parties to said

            proceeding, find that the      4th day of           November       , 2020, is the earliest practicable

            date for hearing the parties to such proceedings and that, pursuant to Governor Abbott's March 13,

            2020 Disaster Declaration due to COVID 19 and the Supreme Court's First Emergency Order

            Regarding the COVID-19 State of Disaster (Misc. Docket No. 20-9042), a telephone or video

            conference in this County is the most convenient place for said hearing, and we do set such date

            and place for hearing such parties, to commence at 10 o'clock A.m. on said date.

                    Said telephone or video conference may be accessed by calling       (877) 853-5257


                      and entering access code 982 3615 6077                     , followed by the pound (#)

            symbol.

                    Said telephone or video conference may also be accessed on the internet using the

            information below:
                                                             https://hannareporting.zoom.us/j/98236156077?
                                                             pwd=NXROQnRDNElOK21qTT1YdGtYamxIUT09
                        Meeting specific URL:
                        Meeting number:                      982 3615 6077
                        Meeting password:                    074752

                    Notice is also given that this telephone or video conference may be recorded and/or

            transcribed.

                    WITNESS OUR HANDS, this the                26th day of    August              , 2020.
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                Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 49 of 66
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                                                             SPECIAL COMMISSIONERS
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   Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 50 of 66                         Krystal Valde
                                                                                                    County Clei
                                                                                             Ellis County, Texe

                                                                      CSJ:    0048-04-096
                                                                      PARCEL: 10

                            CAUSE NO. 20-C-3293
 THE STATE OF TEXAS                  §         CONDEMNATION PROCEEDING
                                     §
 V.                                  §                FILED IN THE
                                     §         COUNTY COURT AT LAW NO. 1
 ONE BENT TREE, LTD., A TEXAS        §
 LIMITED PARTNERSHIP, ET AL          §           OF ELLIS COUNTY, TEXAS

                 FIRST AMENDED PETITION FOR CONDEMNATION

TO SAID HONORABLE JUDGE:

       Now comes the State of Texas, herein called Plaintiff, acting by and through the Texas

Transportation Commission, represented herein by the Attorney General of Texas who, at the

request of the Texas Transportation Commission, brings this action and files this, its First

Amended Petition for the condemnation of the real property and interests or rights pertaining

thereto as hereinafter-described, and shows that the owners of said land and their addresses for

service are as follows: ONE BENT TREE, LTD., A TEXAS LIMITED PARTNERSHIP, by serving

Kenneth H. Mitchell, Registered Agent, 1005 Shady River Court North, Benbrook, Texas 76126;

WELLS FARGO BANK, NATIONAL ASSOCIATION, A CALIFORNIA BANK, SUCCESSOR BY MERGER

WITH WELLS FARGO BANK TEXAS, NATIONAL ASSOCIATION, by serving Corporation Service

Company d/b/a CSC-Lawyers Incorporating Service Company, Registered Agent, 211 East 7th

Street, Suite 620, Austin, Texas 78701-3218; and SUNA1vIERICA INC., A DELAWARE

CORPORATION, HAS ENGAGED IN BUSINESS IN THE STATE OF TEXAS, HAVING ACQUIRED A

LIENHOLDER INTEREST IN REAL PROPERTY LOCATED WITHIN THE STATE OF TEXAS, DESCRIBED IN

THAT CONSTRUCTION DEED OF TRUST, ASSIGNMENT OF LEASES AND RENTS, FIXTURE FILING AND

SECURITY AGREEMENT DATED MAY 1, 2001, RECORDED MAY 10, 2001, UNDER INSTRUMENT NO.

0110567 (VOL. 1779, PG. 1184), OFFICIAL PUBLIC RECORDS OF ELLIS COUNTY, TEXAS; AND THAT
   Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 51 of 66



CONSTRUCTION ASSIGNMENT OF LEASES AND RENTS DATED MAY 1, 2001, RECORDED MAY 10,

2001, UNDER INSTRUMENT NO. 0110570 (VOL. 1779, PG. 1276), OFFICIAL PUBLIC RECORDS OF

ELLIS COUNTY, TEXAS, SAID LIEN INTEREST RELATING TO REAL PROPERTY A PART OF WHICH IS THE

SUBJECT OF THIS EMINENT DOMAIN PROCEEDING, AND WHICH FOREIGN CORPORATION IS NOT

REGISTERED TO DO BUSINESS WITHIN THE STATE OF TEXAS PURSUANT TO TEXAS FINANCE CODE

SECTION 201.102 OR TEXAS BUSINESS ORGANIZATIONS CODE SECTION 9.001 AND HAS NOT

DESIGNATED OR MAINTAINED A RESIDENT AGENT FOR SERVICE OF PROCESS OR A REGISTERED OFFICE

PURSUANT TO TEXAS BUSINESS ORGANIZATIONS CODE SECTION 5.201, THEREBY RENDERING

PLAINTIFF UNABLE TO EFFECT SERVICE UNDER TEXAS CIVIL PRACTICE AND REMEDIES CODE

SECTION 17.028, THEREFORE UNDER TEXAS CIVIL PRACTICES AND REMEDIES CODE SECTION

17.044 THE SECRETARY OF STATE IS AN AGENT FOR SERVICE OF PROCESS ON SUCH NONRESIDENT

CORPORATION, AND PRINCIPAL HOME OFFICE ADDRESS OF SUCH NONRESIDENT CORPORATION IS:

SUNAMERICA INC., A DELAWARE CORPORATION, ONE SUNAMERICA CENTER, 2ND FLOOR, LOS

ANGELES, CALIFORNIA 90067, ATTN: MICHAEL L. FOWLER, VICE PRESIDENT, by serving The

Secretary of State of the State of Texas (or any Assistant Secretary of State, or any clerk having

charge of the corporation department of the Secretary of State's Office), Registered Agent,

Statutory Documents Section - Citations Unit, 1019 Brazos Street, Room 214, Austin, Texas

78701, hereinafter called Defendant (whether one or more) or called owner (whether one or more)

and shows as follows:

                                                   1.

       It is intended that discovery, if any, will be conducted under Leve13.




                             First Amended Petition for Condemnation - Page 2
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                                                      2.

        That Defendant is the owner of the real property situated in Ellis County, Texas, as

described in Exhibit "A" attached hereto and iricorporated herein for all purposes.

                                                      3.

        The Texas Transportatio_n_ Cow-rnission has found that in order to promote the public safety,

to facilitate the safety and movement of traffic, and to preserve the financial investment of the

public in its highways, public necessity requires the laying out, opening, constructing,

reconstructing, maintaining, widening, straightening, extending, and operating of controlled access

highways in the State of Texas as a part of the State highway system at such locations as are

determined necessary by such Commission; that the Texas Transportation Commission has further

found and determined that the tract(s) of land and improvements, if any, described in Exhibit "A"

is/are suitable for public use for such purposes on the State highway designated as IH 35E, and it

is intended to use said land for said purposes and it is necessary to acquire the fee simple title to

said land, and improvements, if any, as provided by law, to be used on said State highway

designated in Exhibit "A", as a part of the State highway system to be laid out, opened, constructed,

reconstructed, maintained, widened, straightened, extended, and operated thereon. Plaintiff, in the

exercise of the police power for the preservation of human life and safety, and under existing laws,

has designated said highways as a controlled access highway pursuant to Title 6 of the Tex. Transp.

Code Ann. (Vernon 2009), in accordance with Texas Transportation Code Section 203.031; and

where there is adjoining real property remaining after acquisition of a parcel, the roads are to be

constructed, reconstructed or improved as part of the highway facility with the right of ingress and

egress to or from the remaining real property adjoining the highway facility to be permitted unless

specifically denied, as designated and set forth on the attached Exhibit "A". Plaintiff is entitled to




                               First Amended Petition for Condemnation - Page 3
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condemn the fee simple title in such land and improvements, if any, for said purposes aforesaid

and asks that the same be condemned for such purposes aforesaid; provided, however, there is

excluded from said estate to be condemned all the oil, gas and sulphur which can be removed from

beneath sa'id land aforesaid without any right whatever remaining to the owner of such oil, gas and

sulphur of ingress or egress to or from the surface of said land and improvements, if any, for the

purpose of exploring, developing; drilling, or mining of the same.

                                                    4.

       The Landowner's Bill of Rights was sent to the landowner in accordance with Texas

Property Code Section 21.0112.

                                                    .1

       That Plaintiff made a bona fide offer to acquire the property described in Exhibit "A" from

the properry owner voluntarily in accordance with Texas Property Code Section 21.0113.

                                                    6.

       That Plaintiff and Defendant have been unable to agree upon the value of said real estate

and interest therein to be condemned or the damages occasioned by the acquisition of such land

and improvements, if any, and asks that Special Commissioners be appointed as provided by law

to assess the damages of the owner.

                                                   7.

       Pursuant to Texas Properry Code Section 21.021, Plaintiff seeks an order from the court

granting it immediate possession of the properry described in Exhibit "A", pending the results of

further litigation, upon its deposit of the amount of damages awarded by the Special

Commissioners, and the costs awarded to the property owner(s), if any, with the court subject to

the order of the property owner(s).




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                                                PRAYER

        WHEREFORE, the State of Texas respectfully prays that three disinterested real properry

owners be appointed as Special Commissioners to assess the damages of the owner and file their

decision all as provided by law, to the end that Plaintiff may have a final judgment or decree of

condemnation vesting in the State of Texas the fee sirnple title to said land and improvements, if

any, except as above provided as to oil, gas and sulphur, for writ of possession, for costs of suit,

prejudgment and post judgment interest on the amount of money that the Award of Special

Commissioners exceeds the amount of money awarded by the judgment of the Defendant hereiri,

and for such other and further relief, general and special, at law or in equity, that Plaintiff may

show itself justly entitled.

                                                       Respectfully submitted,
                                                                                   iki
                                                       KEN PAXTON
                                                       Attorney General of Texas

                                                       JEFFREY C. MATEER
                                                       First Assistant Attorney General

                                                       RYAN L. BANGERT
                                                       Deputy First Assistant Attorney General

                                                       DARREN L. MCCARTY
                                                       Deputy Attorney General for Civil Litigation

                                                       ESTEBAN S.M. SOTO
                                                       Chief, Transportation Division




                               First Amended Petition for Condemnation - Page 5
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                                            isi G~
                                                 ~W" e. ,~~~~
                                            CHARLES E. MADDOX
                                            Assistant Attorney General
                                            State Bar No. 24096716
                                            Transportation Division
                                            P.O. Box 12548
                                            Austin, Texas 78711-2548
                                            (512) 936-1668
                                            (512) 936-0888 - Facsimile
                                            charles. maddox@oag. texas.gov
                                            ATTORNEY FOR PLAINTIFF,
                                            THE STATE OF TEXAS




                    First Amended Petition for Condemnation - Page 6
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                              EXHIBIT "A"




                           EXHIBIT "A"
                            Page 1 of 3
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                                              EXHIBIT:"A"

 County: Ellis                                                                                    P a g e ~ 2 of 3
 Highway: IH 35E                                                                                October 11, 2018
Station: 1226+71.96 to 123373.61
R.O.W. CSJ: 0048-04-096
CCSJ: 0048-04-090
Basis of bearing is the Texas State Plane Coordinate System, North Central Zone (4202), North
American Datum :1983, NAD 83 (2011) .Epoch 2010 with all distances. and eoordinates adJ'usted to
surface by project surface factor o.f 1.000072449.

 This description is accompanied by a parcel map of even date.

** The monument described and set may be replaced with the State's Type II right-of-way marker upon the
completion of the construction project, under the supervision of a RPLS; either employed or retained by the
State:

That I; Timothy A. Frost, a Registered Professional Land Surveyor 'in Texas, hereby states that this
survey was made from an actual on the ground survey made on May 2018 under my supervision, that
all monuments exist as shown hereon and this survey substantially conforms with the current
professional and technical standards as set forth by the Texas Board of Pro.fessional Land Surveying.



~
T imothyy
 Texas Registered Professional Land Surveyor #5316
 Cobb, Fendley & Associates, lnc.                                      ~ c•j :r~,ti,Cx1~r~l~~~~rs                    u
 University Centre I                                                   .          .S~f.             .
                                                                           71WT4iY
                                                                              ~ . A., i:l~O; i
 1300 S. University Dr., Suite 300                                               53
 Fort Worth, 'I'X 76107                                                ~~Y~~~~~4
                                                                             Y
                                                                                 su,,
                                                                                          ,
 T.BP.LS Firm Number 10194167                                                                 •4,N~




                    _
                                         EXHIBIT "A"
                                          Page 2 of 3
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       ----'------•SCALE: 1"=100'------                            1235+00--                                                                                         1240+00' ---
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      .~...._....                    _._..M.._..____.~:.:..._. -~~   8,474.52' ....
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                                                                                                                                             378                       i                                                                                                                   OR.E.CT.
                                   STATE OF TEXAS
                                      PARCEL Il
                                    CAbSE N022635

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                 BENT TREE                                                                                                                     BENT TREE
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           "COBB FENDLEY & ASSOCIATES" OR AS OTHERWISE NOTED
    "❑ - 5/8 INCH IRON ROD 'W/ 2" PLASTIC CAP STAMPED "TXDOT
           SURVEY MARKER RIGHT OF YJAY" SET, MAY BE REPLACED
                                                                                                                   ABSTRACT                             NOa 351                                                   OESCRIPTION OF EVEN DATE.

           W/TYPE IIMONUMENT.AT THE END OF CONSTRUCTION
      X- TXDOT ALUMINUM CAP NOT SET DUE TO NO ROE OR ACCESS
           TO PROPERTY.                                                                                      EXHIBIT "A" - PAGE 3 OF 3                                                                                                                   ~}
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     0- 5/8 INCH IRON ROD W/ 2" ALUMINUM CAP STAMPED
            TXDOT ACCESS DENIAL POWT" SET
     ~ • MARKER FOUNO "AS NOTED"
                                                                                                        A PLAT OF SURVEY OF                                                                                                                    . ~; . ~f,151 Fr^..• n~ ~,'          . -,          -             -
     O.P..R.E_C.T. - OFFICIAL PUBLIC RECOROS, ELLIS COUNTY, TEXAS                                               PARCEL 10
        O.R.E.C.T_ - DEED RECORDS, ELLIS COUNTY, TEXAS                                                         FOR I.H. 35E
        P.R.E.C.T. • PLAT RECORDS, ELLIS COUNTY, TEXAS
            P:O.C. • POINT OF COMMENCING
                                                                                                 A 2,853 SQ.FT. (0.065 ACRES) PARCEL                                                                                                                 ~• ~~ ~~f~' ,,
            P.O.B. - POINT OF BEGINNiNG                                                                 2.2.816 ACRES REMAINING
            (C.M.) • CONTROLLING MONUMENT                                                                    TRACT OF LAND
               R - PROPERTY LINE
                                                                                                         IN JOHN' FIFER SURVEY                                                                                                                                                  ,
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                                                                                                                                                                                                                    TIMOTHY A:FROST. 8X S N0.5316•
               ~ - CENTERLINE                                                                             ELLIS COUNTY, TEXAS'                                                                                      COBB, FENDLEY' &`'.ASSOCIATES. INC.
             i"1• ACCESS DENIAL LINE (A.D'.L.)                                                                                                                                                                  . TBPLS FIRM REGISTRATION N0. 101.94167                                                                  .
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Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 59 of 66




          DOCUMENT 3
    Case 4:20-cv-03484 Document 1-1 Filed on 10/09/20 in TXSD Page 60 of 66                              10/5/2020 4:14 PM
                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No. 46884164
                                                                                                       By: Brenda Espinoza
                                                                                                  Filed: 10/5/2020 4:14 PM

                                    CAUSE NO. 2020-53693

FIESTA MART, LLC             §                       IN THE DISTRICT COURT OF
                             §
   Plaintiff,                §
                             §
v.                           §                       HARRIS COUNTY, TEXAS
                             §
WILLIS OF ILLINOIS, INC. and §
WILLIS TOWERS WATSON US, LLC §                       61ST JUDICIAL DISTRICT
                             §
   Defendants.               §

             DEFENDANTS WILLIS OF ILLINOIS, INC. AND
        WILLIS TOWERS WATSON US, LLC’S ORIGINAL ANSWER,
   GENERAL DENIAL, SPECIAL EXCEPTIONS AND AFFIRMATIVE DEFENSES

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Defendants WILLIS OF ILLINOIS, INC. and WILLIS TOWERS

WATSON US, LLC (collectively, “Willis” or “Defendants”), and pursuant to TEXAS RULES                    OF

CIVIL PROCEDURE 91, 92, and 94 file this their Original Answer, General Denial, Affirmative

Defenses, and Special Exceptions, and, in support, would respectfully show unto the Court as

follows:

                                            I.
                                      GENERAL DENIAL

       As authorized by Rule 92 of the TEXAS RULES            OF   CIVIL PROCEDURE, Defendants

generally deny all of the material allegations contained in Plaintiffs’ Original Petition and in any

subsequent Petitions, and demand strict proof thereof.

                                            II.
                                      DISCOVERY PLAN

       The guidelines and constraints of Level Three classification under Texas Rule of Civil

Procedure 190 are proper and controlling for this lawsuit. Defendants object to Plaintiffs’

representation that Level Two classification is appropriate or controlling.
DEFENDANTS’ ORIGINAL ANSWER, GENERAL DENIAL,
SPECIAL EXCEPTIONS, AND AFFIRMATIVE DEFENSES
                                                                                    Page 1 of 7
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                                            III.
                                    SPECIAL EXCEPTIONS

                                 SPECIAL EXCEPTION NO. 1
                       Failure to Specify Maximum Amount of Damages

       Willis specially excepts to Plaintiff’s Original Petition in its entirety because it fails to

specify a maximum amount of damages as required by Texas Rule of Civil Procedure 47(c).

                                SPECIAL EXCEPTION NO. 2
                          Failure to Set Forth Specific Claims/Facts –
                           Article 541 of the Texas Insurance Code

       Willis specially excepts to Plaintiff’s Original Petition because Plaintiff’s vague and

indefinite claims regarding Willis’ alleged violations of Article 541 of the Texas Insurance Code

are deficient. Plaintiff failed to give Willis notice of the facts and circumstances supporting the

alleged Insurance Code violations. Subia v. Texas Dept. of Human Serv., 750 S.W.2d 827, 829

(Tex. App. – El Paso 1988, no writ) (allegations solely tracking statutory grounds did not give

defendants fair notice of facts and circumstances).         Plaintiff should be required to file an

amended pleading which sets forth facts to support Plaintiff’s claims for Willis’ alleged

violations of Section 541 of the Texas Insurance Code, as well as damages related thereto.

                                SPECIAL EXCEPTION NO. 3
               Failure to Set Forth Specific Claims/Facts – Breach of Contract

       Willis specifically excepts to Plaintiff’s Original Petition because Plaintiff’s vague and

indefinite breach of contract claim fails to (1) provide fair notice of facts of the loss or losses

allegedly sustained by Plaintiff; (2) provide fair notice of facts showing Plaintiff’s alleged loss or

losses were covered under the Terms and Conditions; and (3) provide fair notice of the acts

and/or omissions of Willis which allegedly amount to a breach of Willis’ contractual obligations,

if any, to Plaintiff. Subia, 750 S.W.2d at 829 (trial court can order the Plaintiff to specifically

plead a cause of action which was originally pleaded in general terms). As such, Plaintiff should
DEFENDANTS’ ORIGINAL ANSWER, GENERAL DENIAL,
SPECIAL EXCEPTIONS, AND AFFIRMATIVE DEFENSES
                                                                                     Page 2 of 7
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be required to amend Plaintiff’s claim for breach of contract and state with particularity: (1) facts

supporting Plaintiff’s alleged loss; (2) facts demonstrating the portion of the losses covered by

the Terms and Conditions; (3) facts of the acts and/or omissions by Willis which allegedly

amounted to a breach of contractual obligation to Plaintiff; and (4) the maximum amount of

damages sought by Plaintiff for Willis’ alleged breach of contract.

                               SPECIAL EXCEPTION NO. 4
    Failure to Set Forth Specific Claims/Facts – Negligence/Negligent Misrepresentation

       Willis specially excepts to Plaintiff’s Original Petition for failing to plead sufficient facts

to provide fair notice of the claims asserted therein. Plaintiff’s pleading alleges that Willis made

“misrepresentations” and “provided false information” without pleading the alleged

misrepresentations of any facts to support the general claims asserted. As such Willis lacks

information sufficient to prepare its defenses to this cause of action.

                                           IV.
                                  AFFIRMATIVE DEFENSES

                               AFFIRMATIVE DEFENSE NO. 1
                                   Failure to State a Claim

       Plaintiff’s causes of action against Willis are barred, either in whole or in part, because

Plaintiff has failed to state a claim upon which relief can be granted. Specifically, Plaintiff has

failed to sufficiently describe a cause of action for a breach of the Terms and Conditions, or how

such claim converts Plaintiff’s alleged contractual claim into violation of the Texas Insurance

Code by Willis. Similarly, Plaintiff has not sufficiently identified any “misrepresentations” or

made by Willis and/or any “false information” provided to Plaintiff.




DEFENDANTS’ ORIGINAL ANSWER, GENERAL DENIAL,
SPECIAL EXCEPTIONS, AND AFFIRMATIVE DEFENSES
                                                                                   Page 3 of 7
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                              AFFIRMATIVE DEFENSE NO. 2
                                  No Proximate Causation

       Plaintiff’s causes of action against Willis are barred, either in whole or in part, because

Willis did not proximately cause Plaintiff to suffer any damages and Plaintiff’s damages (if any)

were caused by Plaintiff’s own actions or the actions of others for which Willis is not

responsible.

       As set forth in Paragraph 68 of the Original Petition, payment in full of $4,780,347 was

made by the Primary Policies insurers. After such payment was made, Plaintiff initiated a

separate lawsuit against ACON Investments, LLC (“ACON”) and a settlement agreement was

reached, which included a resolution as to which party was entitled to the $4,780,347 in

insurance proceeds. Willis would not have any responsibility for any legal fees or other damages

resulting from that separate lawsuit, which were caused by the acts and omissions of Plaintiff and

its attorneys who assisted in drafting the Membership Interest Purchase Agreement (wherein

Plaintiff agreed that ACON would be entitled to any insurance proceeds for business interruption

loss, but neglected to specify how other losses should be handled).

       Moreover, effective February 13, 2019, Plaintiff informed Willis that it would no longer

use Willis’ brokerage or other services, thereby terminating the relationship. Accordingly, any

acts or omissions by Willis in June and July of 2020 did not affect Plaintiff’s entitlement to

insurance proceeds for depreciation holdback.       Based upon information and belief, Willis

understands that Plaintiff has not submitted a proof of loss pertaining to depreciation holdback,

thus any allegations concerning entitlement thereto are premature.




DEFENDANTS’ ORIGINAL ANSWER, GENERAL DENIAL,
SPECIAL EXCEPTIONS, AND AFFIRMATIVE DEFENSES
                                                                                Page 4 of 7
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                                AFFIRMATIVE DEFENSE NO. 3
                                 Damages Not Caused by Willis

       If the damages to Plaintiff occurred as alleged, although it is not so acknowledged, then

the damages were directly caused by Plaintiff's own acts and omissions and/or the acts and

omissions of individuals or entities for which Willis are not responsible (including, as set forth

above, Plaintiff’s attorneys who did not specify in the Membership Interest Purchase Agreement

how certain insurance losses should be handled), and such acts were the sole cause, sole

proximate cause, producing cause, and/or new and independent intervening cause of the alleged

damages to Plaintiff.

                                AFFIRMATIVE DEFENSE NO. 4
                                       Offset/Credit

       Willis will assert its rights to offset and credit for amounts already paid to Plaintiff by

either ACON or other third parties.

                                AFFIRMATIVE DEFENSE NO. 5
                                 Failure to Mitigate/Contribution

       Plaintiff may be barred from any recovery from Willis, in whole or in part, due to

Plaintiff’s failure to mitigate and Plaintiff’s contribution to Plaintiff’s damages.

                               AFFIRMATIVE DEFENSE NO. 6
                              Attorneys’ Fees and Costs Precluded

       Willis denies that they are obligated for the fees and/or costs set forth in Tex. Civ. Prac.

& Rem. Code §38.001, et. seq., as awarding such costs and/or fees is not reasonable or just by

virtue of the absence of damages. Moreover, because Defendants Willis Towers Watson US,

LLC is a limited liability company, Chapter 38 does not apply at all. See Tex. Civ. Prac. & Rem.

Code § 38.001(8) (“A person may recover reasonable attorneys’ fees from an individual or

corporation …”); Ganz v. Lyons P'ship, L.P., 173 F.R.D. 173, 176 (N.D. Tex. 1997); Alta Mesa

DEFENDANTS’ ORIGINAL ANSWER, GENERAL DENIAL,
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Holdings, L.P. v. Ives, 488 S.W.3d 438, 452–55 (Tex. App. – Houston [14th Dist.] April 14,

2016).

                               AFFIRMATIVE DEFENSE NO. 7
                          Pre- and Post-Judgment Interest Limitations

         If pre-judgment interest is recoverable, Willis asserts that it is limited in accordance with

Tex. Fin. Code Ann. §304.101 et seq. If post-judgment interest is recoverable, Willis asserts that

it is limited in accordance with Tex. Fin. Code Ann. §304.003(c).

                                AFFIRMATIVE DEFENSE NO. 8
                                  Proportionate Responsibility

         Plaintiff’s claim for negligence/negligent misrepresentation is barred, in whole or in part,

by Tex. Civ. Prac. & Rem. Code Ann. § 33.001, et seq.

                                AFFIRMATIVE DEFENSE NO. 9
                                    Economic Loss Doctrine

         Plaintiff’s claim for negligence/negligent misrepresentation is barred, in whole or in part,

by the economic loss doctrine. See Sharyland Water Supply Corp. v. City of Alton, 354 S.W.3d

407, 415 (Tex. 2011) (“parties may be barred from recovering in negligence…for purely

economic losses”).

                               AFFIRMATIVE DEFENSE NO. 10
                                     Waiver/Release

         Plaintiff’s claims are barred, in whole or in part, to the extent that their settlement

agreement with ACON included a waiver and/or release.

                                       V.
                     OBJECTION TO PLAINTIFF’S RULE 194 NOTICE

         Willis objects to Plaintiff’s notice pursuant to Rule 194 of the Texas Rules of Civil

Procedure as the notice is premature and does not state the proper deadline for Willis to respond.

See Rule 143.3(a) (“The responding party must serve a written response on the requesting party
DEFENDANTS’ ORIGINAL ANSWER, GENERAL DENIAL,
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within 30 days after service of the request, except that…a defendant served with a request before

the defendant’s answer is due need not respond until 50 days after service of the request”).

        WHEREFORE, PREMISES CONSIDERED, Willis pray that, upon final trial and

hearing hereof, Plaintiffs take nothing and that Defendants recover their costs, fees, and

expenses, and for such other further relief to which they may show themselves justly entitled,

both in law and at equity.



Respectfully submitted,

MARTIN, DISIERE, JEFFERSON & WISDOM, L.L.P.


By:      /s/ Christopher W. Martin
        CHRISTOPHER W. MARTIN
        SBOT #: 13057620
        martin@mdjwlaw.com
        Niels Esperson Building
        808 Travis, 11th Floor
        Houston, TX 77002
        713-632-1701
        713-222-0101 (fax)

        ATTORNEYS FOR DEFENDANTS
        WILLIS OF ILLINOIS, INC.
        WILLIS TOWERS WATSON US LLC


                                 CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing instrument has been mailed,
e-mailed, telecopied or hand delivered to all attorneys of record, in compliance with the TEXAS
RULES OF CIVIL PROCEDURE, on this the 5th day of October, 2020.



                                                       /s/ Christopher W. Martin
                                                     CHRISTOPHER W. MARTIN



DEFENDANTS’ ORIGINAL ANSWER, GENERAL DENIAL,
SPECIAL EXCEPTIONS, AND AFFIRMATIVE DEFENSES
                                                                                  Page 7 of 7
